Case 8:16-cV-OO769-RAL-|\/|AP Document 2 Filed 03/30/16 Page 1 of 7 Page|D 12

IN THE CIRCUIT COURT OF THE
SlX.TH J'UDICIAL CIRCUIT

IN AND FOR PINELLAS
COUNTY, FLORIDA

cAsENo.= i(p ~’OO /Q~OQ~ C/I
cHARKHANNA HowARJ),

Plaintiff(s),
v.

CREDI'[` PROTEC'I`!ON
ASSOCIAT[ON, L.l’,,

Defendan t(s).

 

PLAINT{FF’S COMPLAINT AND D.EMAND FOR J'URY TRIAL
WITH INJUNCTIVE REL[EF SOUGHT

 

COMES NOW, Plaintii`i`, CHARKl-[ANNA HOWARD (hereinai'ter “Ms. Howard" or
“Plaintifi"), by and through the undersigned counsel, hereby sues and files this Complaint and
Dcmand for Jury 'I`rial with Injunctive Rellei` Sought as against Defendant(s), CREDIT
PROTECT[ON ASSOCIATION, L.P. (hereinaiter “.Def`endunl"), and in support thereof states
a follows: `

Jur:°.tl!t'crlim and Vemle
|. 'This is an action t`or damages in excess 01"$15,000,00, exclusive of attorney‘s fees, intercst.

and costs.

2. _Iuri'sdiction is proper in the State of F|orida where the Deferitiattt conducts business in the
State OfFlorida.

3. Jurisd'lction ofthis Court also arises under 47 U.S.C. § 227 (b) (3) (20`|5).

4. Venue is proper in Pinel|us County, FL,, where the tortious activity took place in Pinellas

County, F|oridu.

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Case 8:16-cV-OO769-RAL-|\/|AP Document 2 Filed 03/30/16 Page 2 of 7 Page|D 13

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5. Under information and belicf`, this action urises out ol' a “cht" or “Consumer Debt" as
defined by Fla. Stat. § 55¢9.55 (6) and Defendant’s violations of the Fair l'Jebt Collections
Practiees Acl1 l5 U.S.C. § 1692 et. seq. (“FDCPA"), and the Florida Consumer Collecticns
Practices Act, Florida Statute § 559.72 et. seq. ("FCCPA").

6. Plaintiff, Ms. I~loward, is a natural person and at all times material hereto is an adult, a
resident of Pinellas County, Florida, and a "consumer" as defined by 15 U.S.C. § 1692a (3)
and “debtor" or "t:onsunter" as defined by Fltt. Stat. § 559.55 (8).

7. Ms. Howat'd is the regular user and subscriber of the cellular telephone number 407-879~
5575, and thereby is the "cal|ed party” as referenced in the Restrictions on Use of Telephone
Equipment (TCPA), 47 U,S.C. § 227 (b) (l) (A) (iii).

8. At all times material hereto, Del`endant, CPA. was and is a foreign limited partnership with
its principal place ol` business in the state of Texas and its registered agent, C T
CORPORATION SVSTEM, located at 1200 South Pine lsland Road, Plantation, Florida
33324.

9. Fut'ther, at all times material hereto, CPA is a "‘Consumer Collection Agency" as defined by
Fla. Stat. § 559.55 (3) and/or a "Debt Collector" ns defined by lF|a. §tat. §_ 559.55 (7) & 15
U.S.C § |692u (6).

Sratemems of Facl
l0. ln or around .la`nuary 2015, Ms. Howard began receiving calls from Defendant.

l l. fn its eal|s, Def`endant asked for a “Stephanie Mereer" in attempts to collect a debt.

 

Howard v. Cr¢'dll l’mlucllon A.r.mcfalian, L.I*.
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Case 8:16-cV-OO769-RAL-|\/|AP Document 2 Filed 03/30/16 Page 3 of 7 Page|D 14

12. In or around Fcbruary 20|5, Ms. Howard answered one or more of Defendant’s calls and
asked that they stop calling her. Ms. Howard informed Defendant that she did not owe the
debt

ll At this point in timc, Ms. Howard also informed Defendant that she had no knowledge of
“Stephanic Mcrt:er" and that the phone number 407-879-5575 belonged to Ms. l~lowardl not
“Stephanie Mcrcer.“

l4. Dcspite her request for Defendant’s calls to stop, Dcfendant continued to call Ms. Howard's
cellular phone ln attempts to collect a deht.

l5. Dcfendant called Ms. Howard's cellular phone at least forty two (42) times during the time
period ofFebruary 13, 20|5 to April IO, 2015. See Exhibit A.

16. Defendant called Ms. l-lowartl's cellular phone from at least four different phone numbers:
844-335~5695, 844-335-5696, 844-543-()093, and 844-335-5702.

17. Defendant called _Ms. Howard's cellular phone up to three times per day.

18. Ms. Howard has been harassed by Del"endant‘s calls due to the frequency and timing of each
ofthe calls.

l9. Under information and belief, each ofthe telephone calls identified in Exhibit A were placed
to Ms. Howard’s cellular telephone number using an automatic telephone dia|ing system.

20. Under information and belief, Del`endant did not place any calls to Ms. Howard for
emergency purposes

21. Defendant did not have Ms. lloward's express consent to make any of the telephone calls
identitied in Exhibit A to Ms. Howard’s cellular telephone number.

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22. Ms. Howard rc-allcges paragraphs |~2| and incorporates the same herein by reference

   
 

        

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Case 8:16-cv-OO769-RAL-|\/|AP Document 2 Filed 03/30/16 Page 4 of 7 Page|D 15

23. 'I`he Restrictions on Use ol"'l`elephone Et[uipment provision, 47 U.S.C. § 227 (b) ( |) prohibits

any person
(A) to make any call (other than a call made for emergency
purposes or made with the prior express consent of the
called party) using any automatic telephone dialing system
or an artificial prerecorded voice - (iii) to any telephone
number assigned to a paging service. cellular telephone
scrvice, . . . or any service l’or which the called party is
charged l`or the call.
24. Ms. l-loward revoked consent to have the De|'endunt call her cellular phone in or around
February oi`20 15 when she expressly told Det`cndant to stop calling her, that she did not owe
a debt, and that “Stephanie Mercer" was not at that phone number.
25. Despite this revocation of consent, Dct`endant thereafter called le. Howard at least forty two
(42) times. k
26. Defendant wi|ll"ul|y and knowingly placed non-emergency calls to Ms. l-loward's cellular
telephone without the express consent of Ms. l~loward, using an automatic telephone dialing
system, violating the‘Restrictions on Usc of'l`elephone Equipment.
27. A|l conditlons precedent to this action have occurrcd.
WHEREFORE, Plaintil`l" requests this Court to enter a judgment against Defendant as
follows:
a. Awurding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B), which
allows for $500 in damages for each such violation;
b. Awarding treble damages pursuant to 47 U.S.C. §227 (b) (3) (C);
c. Awarding Plaintift`costs;
d. Ordering an injunction preventing l"urt'her wrongful contact by the Def`endant; and
e. /-\ny other and further rclict` as this Court deems equitable
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Case 8:16-

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Cv-OO769-RAL-I\/|AP Document 2 Filed 03/30/16 Page 5 of 7 Page|D 16

Caunt 2: Violatian of the F¢u'r Debt Collecliart PraclicesAct {“FDCPA "l

Plaintil`i`re-alleges paragraphs l-2| and incorporates the same herein by reference

P|alntil'fis a ‘°consumer" within the meaning ofthe FDCPA.

Under information and belief, the subject debt is a “consumer dcbt” within the meaning of
the FDCPA.

Defendant is a “debt eollector" within the meaning ot` the FDCPA.

. A|l of the calls l')ei"endant placed to l’luintiffconstitute "communications" as defined by 15

u.s.c. § 1692¢1(~2).
Defendant violated the FDCPA. Del"endant's violations include, but arc not limited to, the
following:
a. Debt Collector violated l5 U.S.C. § l692d (5) (20|2) by causing

Plalntiff’s telephone to ring continuously with the intent to annoy, abuse,

and harass thc person at'_thc called numbcr. ,
As a result 01" the above violation of the Act, Plaintii`f has been subjected to illegal collection
activities for which she has been damaged

It has been necessary for `Piaintil`l' to retain the undersigned counsel to prosecute the instant
action, for which she is obligated to pay a reasonable attorney‘s_ fee.
A|l conditions precedent to this action have occurred

WHEREFORE, Plaintit`l` requests this Court to enter a judgment against Dei.`endant as

follows:

a. Awarding statutory damages as provided by 15 U.S.C. § l692k (a) (2) (A);
b. Awarding actual damages;

c. Awarding costs and attorneys` fecs; and

   

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Howard v. Cn.'dl: I'mlt'¢u`un ¢l.r.racmllen. L F.
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Case 8:16-cV-OO769-RAL-|\/|AP Document 2 Filed 03/30/16 Page 6 of 7 Page|D 17

d. Any other and further reliel'as this Court deems cquitab|e.
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37. Plaintlt`fre-alleges paragraphs |-21 and incorporates the same herein by reference
38. Def`endant violated the FCCPA. Del`endant's violations include, but are not limited to. the
i'ol|owing:

a. Det`endant violated the FCCPA § 559.72 (7) by willfully
communicating with Ms. i-loward with such frequency us can
reasonably be expected to harass Ms. Howard, by causing Ms.
Howard’s cell phone to ring continuous|y.

39, As a result of the above violations of the Act, Plaintifi" has been subjected to unwarranted and
illegal collection activities and harassment for which she has been damaged
40. lt has been necessary i'or Plaintii'i' to retain the undersigned counsel to prosecute the instant
action. for which she is obligated to pay a reasonable attorney’s fee.
4 l. Ali conditions precedent to this action have occurred.
WHEREFORE, Plaintii`i` requests this Court to enter judgment against Dei`endant as
follows:

a. Awarding statutory damages as provided by Fla. Stat. § 559.77 (2);

b. Awarding actual damages;

e. Awarding punitive datnages;

d. Awarding costs and attorneys’ fccs;

e. Ordering nn injunction preventing i'urther wrongful contact by the Def`enclant;
and

f`. 'Any other and further rel ici’as this Court deems equitable

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Case 8:16-cV-OO769-RAL-|\/|AP Document 2 Filed 03/30/16 Page 7 of 7 Page|D 18

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Plaintil"i`, Cl-|ARKHANNA HOWARD, demands a trial byjury on all issues so triable.

Respectfuliy submitted this February 16, 2016.

/s/ MichaelA. Ziegler

Michael A. Ziegler, Esq.

'l`t'iul Counsel i`or Plaintii"i`

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